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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

NAVA LANIADO Civil Case Number: 3:14-cv-02798-PGS-LHG

Plaintiffs,

-against-

CERTIFIED CREDIT & COLLECTION
BUREAU, et al.

 

Defendants.

 

PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
MOTION TO DISMISS

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PRELIMINARY STATEMENT

The Plaintiff, Nava Laniado, filed a complaint against Certified Credit & Collection
Bureau (“CCCB”) alleging violations under the Fair Debt Collection Practices Act (“FDCPA”).
The Plaintiff submits this Memorandum of Law in Opposition to the Defendant, Certified Credit
& Collection Bureau’s (“CCCB”) Motion to Dismiss pursuant to Federal Rules of Civil
Procedure 12(b)(6) (the “Motion”).

STATEMENT OF FACTS

The Defendant is a “debt collector” as defined under the FDCPA section 15 U.S.C. §
1692a(6). They regularly send out letters to consumers in an attempt to collect a debt. The
Plaintiff is a “consumer” as defined by section 15 U.S.C. § 1692a(3).

On or about February 13, 2014, the Defendant sent the Plaintiff an initial demand letter in
an attempt to collect an alleged debt incurred for personal, family or household purposes. The
Defendant sent a follow-up letter within thirty days of the initial February 13, 2014 letter on
March 5, 2014 (the “Letter”). When the Plaintiff received and read the Letter, she was still
within her legal timeframe to dispute the alleged debt pursuant to 15 U.S.C. § 1692g. Said Letter
stated:

THE ABOVE ACCOUNT HAS BEEN PLACED WITH US FOR COLLECTION.

SETTLEMENT IS EXPECTED TO BE MADE WITH THIS OFFICE. KINDLY REMIT

PAYMENT IN FULL.

SHOULD THERE BE ANY DISCREPANCY PLEASE CALL TOLL FREE 800-253-

2920 OR FOR OUR 24 HOUR AUTOMATED CUSTOMER SERVICE CALL 800-

354-4744.
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THIS IS AN ATTEMPT TO COLLECT A DEBT BY A DEBT COLLECTOR AND

ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

The Plaintiff filed a complaint against the Defendant alleging that the Defendant violated
sections 15 U.S.C. § 1692e and 15 U.S.C. § 1692g of the FDCPA. The Plaintiff alleges that the
above language would mislead the least sophisticated consumer into believing that she can call
in a dispute in violation of sections 1692e and 1692g. The Plaintiff further alleges that the above
language overshadows the Plaintiff's thirty day validation rights in violation of section 1692e

and 1692g.
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STANDARDS FOR MOTION TO DISMISS

The Defendant is attempting to dismiss Plaintiff's complaint pursuant to Federal Rules
of Civil Procedure 12(b)(6), or more specifically for failure to state a claim upon which relief can
be granted. To defeat a motion to dismiss filed pursuant to Rule 12(b)(6) of the Federal Rules of
Civil Procedure, a plaintiff must plead “enough facts to state a claim to relief that is plausible on
its face.” Bell Atl. Corp. v. Twombly, 550 US 544, 555 (2007); Reliable Consultants, Inc. v.
Earle, 517 F.3d 738, 742 5" Cir. 2008); Guidray v. American Pub. Life Ins. Co., 512 F.3d 177,
180 (5" Cir. 2007)

In determining whether the Plaintiff has stated a cause of action, the Court accepts all
well-leaded facts in the complaint as true and views them in the light most favorable to the
plaintiff. Sonnier v. State Farm Mutual Auto. Ins. Co., 509 F.3d 673, 675 (5" Cir. 2007); Martin
K. Eby Constr. Co., v. Dallas Area Rapid Transit, 369 F.3d 464, 467 (5"" Cir. 2004); Baker v.
Putnal, 75 F.3d 190, 196 (5"Cir. 1996)

Plaintiff's complaint not only meets but exceeds the standards governing the form or a
complaint contemplated by Federal Rules of Civil Procedure 8(a), and the Complaint sufficiently

alleges a valid claim upon which relief can be granted.

ARGUMENT
I. THE PLAINTIFF SUFF!CIENTLY ALLEGES FDCPA VIOLATIONS UPON

WHICH RELIEF CAN BE GRANTED IN COUNT ONE OF THEIR
COMPLAINT

In order to plead a claim pursuant to the FDCPA, the Plaintiff must state facts that

provide for a reasonable inference that the Defendant violated the FDCPA. Reade-Alvarez v.
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Eltman, Eltman & Cooper, P.C., 369 F. Supp.2d 353, 359 (EDNY 2005).

The Plaintiff sufficiently states a claim under 15 U.S.C. §1692e and 15 U.S.C. §1692g of
the FDCPA, upon which relief can be granted. Pursuant to 15 U.S.C. §1692e, a debt collector
may not use in an attempt to collect a debt false, misleading or deceptive statements. Pursuant to
15 U.S.C. §1692g¢, within five days of the initial communication, a debt collector must
adequately provide the consumer with a proper validation notice, which is not overshadowed or

diminished by other language.

A. The March 5, 2014 letter overshadows the thirty day validation notice in violation of
the FDCPA.

Pursuant to 15 U.S.C. 1692g a debt collector, within five days of the initial
communication, must effectively convey a validation notice notifying the consumer of their right
to dispute within thirty (30) days of receipt of the letter. The validation notice may not be either
"overshadowed" or contradicted by other language or material in the original or subsequent
collection letters sent within 30 days after receipt of the first one. Swanson v. Southern Oregon
Credit Service, Inc. 869 F.2d 1222 (9th Cir. 1988); Harris v. Payco General American Credits,
Inc., 1998 U.S.Dist. LEXIS 20153 (N.D. Ill. Dec. 9, 1998). "A debt collection notice is
overshadowing or contradictory if it fails to convey the validation information clearly and
effectively and thereby makes the least sophisticated consumer uncertain as to her rights."
Moreover, in establishing whether language contained in a notice overshadowed or contradicted
the mandatory validation notice, "[i]t is unnecessary to prove the contradiction is threatening."
Russell v. Equifax A.R.S,.74 F.3d (2d Cir. 1996).

In the case at hand, the Defendant sent an initial communication on February 13, 2014
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with the proper validation notice. Within thirty days of receipt of that letter, the Defendant sent a
subsequent letter dated March 5, 2014, making no mention or reference to the Plaintiff's
continued right to dispute. Plaintiff alleges that by requesting payment in a communication
within Plaintiffs thirty day period to dispute, and not reminding or making mention that the
consumer still has a right to dispute, the Defendant has violated the FDCPA by overshadowing
the consumer’s validation rights.

In Michalek v. ARS National Systems, Inc. 2011 U.S. Dist. LEXIS 142976 (M.D. Pa.
2011), the court held that non-sophisticated consumers could be receiving a voluminous amount
of messages and calls from debt collectors and it would be an unreasonable burden to expect
consumers to recall prior communication. Therefore, the Court has determined that each letter
from a collection agency must be read individually. The Court in Lukawski v. Client Services,
2013 U.S. Dist. LEXIS 124075 (M.D. Pa. Aug. 29, 2013) has expanded the above ruling to state
that even though the initial communication had a proper disclaimer (regarding interest being
accrued), each subsequent letter required its own notice or disclaimer.

Using the logic from Michalek, the Plaintiff argues that she cannot be reasonably

 

expected to remember the validation notice in the February 13, 2014 letter. When she received
the March 5, 2014 letter, she therefore was unaware that the she still had a right to dispute the
alleged debt. Therefore, by not making reference to the validation notice or mentioning that this
request for payment was not intended to diminish the Plaintiff's right to dispute, the Defendant
overshadowed and diminished the validation notice in violation of the FDCPA.

Defendant in its Motion to Dismiss states that case law has already decided that
demanding payment within the thirty day validation window does not overshadow the validation

notice. D'Addario v. Enhanced Recovery Co. LLC, 798 F. 2d 570 (D. NJ 2011). While
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Defendant is correct on his explanation of D ‘Addario, however the letter in this case clearly
differentiates from the letter in D Addario. In D’Addario, the demand for payment was made in
the same letter as the validation notice. Here, the demand for payment was made on a letter with

no validation notice.

B. The Defendant’s March 5, 2014 letter violates the FDCPA by providing language
that would misrepresents the least sophisticated consumer into believing that he or
she may dispute the alleged debt by calling the Defendant.

The Third Circuit has determined that a consumer can only make a valid dispute in
writing. Graziano v. Harrison, 950 F.2d 107 (3rd Cir. 1991). Furthermore, the Third Circuit has
held that it is a violation of the FDCPA if a collection letter provides language that would
misrepresent to the least sophisticated consumer that he or she can call to dispute an alleged debt.
Caprio v. Healthcare Recovery Group, LLC, 709 F.3d 142 (3" Cir. 2013).In Caprio, the letter
stated “If we can answer any questions, or if you feel you do not owe this amount, please call us
toll free at 800-948-9115.” The Plaintiff alleges that the language in the Defendant’s March 5,
2014 letter (“should there be any discrepancy please call . .”) is similar to the language in Caprio
as it would also confuse the consumer into believing that he or she can call in if they feel there is
any discrepancy, which would include a discrepancy in the amount owed.

In support of Defendant’s Motion, the Defendant argues that their letter differentiates
from the Caprio letter as it suggests that the consumer call “should there be any discrepancy,”
while the Caprio letter specifies to call “if you feel you do not owe this amount.” The Defendant,
in an attempt to limit the ways on which discrepancy can apply, states that the word discrepancy
could refer to a number of things such as the spelling of the consumer’s name, the consumer’s

address etc. The Defendant, however, fails to mention that the word discrepancy can also
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include such things as a discrepancy in the amount of the alleged debt and/or a discrepancy as to
who the correct debtor is, both of which would qualify as a dispute. Furthermore, the March 5,
2014 letter states “any discrepancy” which would be read to include every type of discrepancy.

The Defendant further argues that the form of their letter differs from the Caprio letter in
that the telephone number appeared ir. bold, and the validation notice was relegated to the back
of the letter. The Defendant, however, failed to mention that their March 5, 2014 letter did not
have a validation notice at all in the letter. It would be difficult to argue that a letter with a

validation notice in the back is worse in form than a letter with no validation notice.

CONCLUSION
For the foregoing reasons, the Plaintiff's complaint sufficiently states a claim for which
relief can be granted. Accordingly, the Plaintiff respectfully requests that the Court deny

Defendant’s motion to Dismiss the Complaint with Prejudice.
